                Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 1 of 44

            Sealed                                                                        United States Courts
Public and unofficial staff access                                                      Southern District of Texas
     to this instrument are                                                                      FILED
   prohibited by court order              IN THE UNITED STATES DISTRICT COURT
                                          FOR THE SOUTHERN DISTRICT OF TEXAS               December 07, 2022
                                                   HOUSTON DIVISION                   Nathan Ochsner, Clerk of Court

          UNITED STATES OF AMERICA

                                     v.

          EDWARD CONSTANTINESCU,
          PERRY “PJ” MATLOCK,
          JOHN RYBARCZYK,
          GARY DEEL,
          STEFAN HRVATIN,
          TOM COOPERMAN,                                       INDICTMENT
          MITCHELL HENNESSEY,
          DANIEL KNIGHT,
                                                                        4:22cr612
                                                               Case No. ____________________

                                                               Violations: 18 U.S.C. § 1349;
                                                                           18 U.S.C. §§ 1348 & 2; and
                                                                           18 U.S.C. § 1957(a).


                                                               UNDER SEAL




                                       Defendants.



                                                           1
      Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 2 of 44




                                          INDICTMENT

The Grand Jury charges that:

                                       General Allegations

       At times relevant to this Indictment:

       1.      From in or around January 2020 to in or around April 2022, the defendants—

EDWARD CONSTANTINESCU, also known as Edward Constantin (“CONSTANTIN”),

PERRY “PJ” MATLOCK, JOHN RYBARCZYK, GARY DEEL, STEFAN HRVATIN, TOM

COOPERMAN, MITCHELL HENNESSEY, and DANIEL KNIGHT—engaged in a scheme to

“pump and dump” securities based on false and misleading information and material omissions

about those securities that the defendants published on social media platforms, including Twitter,

Inc. and Discord, Inc. To carry out the scheme, the defendants (1) purchased shares of a security

in their trading accounts; (2) posted messages on social media platforms with false, positive

information about the security—including as to, among other things, the defendants’ position in

the security, how long the defendants intended to hold the security, the defendants’ view that the

security would increase in price, and the price the security could reach—to induce other investors

to buy the security and artificially drive up its price, and (3) secretly sold their own shares of the

security at a higher price to secure a profit for themselves, at or around the time they posted

messages to induce other investors to purchase the same security and concealed their intent to sell.

From in or around January 2020 to in or around April 2022, the defendants profited at least

approximately $114 million from their scheme.




                                                  2
      Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 3 of 44




                                         The Defendants

       2.      CONSTANTIN, who resided in the Southern District of Texas in or around the

relevant period, used the Twitter account “@MrZackMorris” and had over 500,000 followers on

Twitter. CONSTANTIN also used the Discord account “Zack Morris#0001.” CONSTANTIN

co-founded Atlas Trading, which purported to be a stock trading community, and encouraged

investors to join Atlas Trading’s free chatroom or server on Discord purportedly to learn how to

trade securities and receive “alerts” or messages from CONSTANTIN and others about securities.

Over time, Atlas Trading Discord grew to become one of the largest stock-trading chat rooms,

with over 250,000 members. CONSTANTIN posted alerts in Atlas Trading Discord and Twitter

about the securities that the defendants traded as part of the pump and dump scheme.

       3.      MATLOCK, who resided in the Southern District of Texas in or around the relevant

period, used the Twitter account “@PJ_Matlock” and had over 300,000 followers on Twitter.

MATLOCK used the Discord account “PJ Matlock#0001.”                MATLOCK co-founded Atlas

Trading, encouraged investors to join Atlas Trading Discord, and frequently messaged or posted

“alerts” in Atlas Trading Discord and Twitter about securities that the defendants traded as part of

the scheme.

       4.      RYBARCZYK also resided in the Southern District of Texas in or around the

relevant period. RYBARCZYK used the Twitter account “@Ultra_Calls” and had over 275,000

followers on Twitter. RYBARCZYK used the Discord account “Ultra#0374” and was a member

of Atlas Trading Discord. RYBARCZYK encouraged investors to join Atlas Trading Discord,

messaged or posted “alerts” in Atlas Trading Discord and Twitter about securities that the

defendants traded as part of the scheme, and later started a similar trading chatroom on Discord

named Sapphire Trading.


                                                 3
      Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 4 of 44




       5.      DEEL, who resided in California in or around the relevant period, used the Twitter

account “@notoriousalerts” and had over 145,000 followers on Twitter. DEEL used the Discord

account “Mystic Mac �#7345” and was a member of Atlas Trading Discord. DEEL encouraged

investors to join the Atlas Trading Discord and messaged or posted “alerts” in Atlas Trading

Discord and Twitter about securities that the defendants traded as part of the scheme.

       6.      HRVATIN, who resided in Florida in or around the relevant period, used the

Twitter account “@LadeBackk” and had over 140,000 followers on Twitter. HRVATIN used the

Discord account “Lade Backk#6083.”

       7.      COOPERMAN, who resided in California in or around the relevant period, used

the Twitter account “@ohheytommy” and had over 125,000 followers on Twitter. COOPERMAN

used the Discord account “TOMMY COOPS #5323” and was a member of Atlas Trading Discord.

COOPERMAN encouraged investors to join the Atlas Trading Discord and messaged or posted

“alerts” in Atlas Trading Discord and Twitter about securities that the defendants traded as part of

the scheme.

       8.      HENNESSEY, who resided in New Jersey in or around the relevant period, used

the Twitter account “@hugh_henne” and had over 225,000 followers on Twitter. HENNESSEY

used the Discord account “HOODHUGHBEAR🐂🐂#4034” and was a member of Atlas Trading

Discord. HENNESSEY encouraged investors to join the Atlas Trading Discord and messaged or

posted “alerts” in Atlas Trading Discord and Twitter about securities that the defendants traded as

part of the scheme. HENNESSEY also co-hosted the podcast Pennies: Going in Raw (“PGIR”),

which HENNESSEY and others advertised as the “#1 Stock Market Podcast.”




                                                 4
      Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 5 of 44




       9.      KNIGHT, who resided in the Southern District of Texas in or around the relevant

period, used the Twitter account “@DipDeity” and had over 175,000 followers on Twitter.

KNIGHT used the Discord account “Dan, Deity of Dips#8114” and was a member of Atlas

Trading Discord. KNIGHT encouraged investors to join the Atlas Trading Discord and messaged

or posted “alerts” in Atlas Trading Discord and Twitter about securities that the defendants traded

as part of the scheme. KNIGHT co-hosted the PGIR podcast with HENNESSEY.

        The Defendants Used Social Media Platforms to Maximize Their Trading Profits

       10.     In or around the relevant period, the defendants held themselves out to investors on

Twitter, Discord, and elsewhere as skilled stock traders. The defendants, for example, frequently

posted on Twitter the profits of their trading activities. The defendants also frequently posted

pictures on Twitter of luxury residential properties, vehicles, jewelry, and other luxury items. The

defendants also frequently encouraged investors to join Atlas Trading Discord purportedly so that

other investors could share in the defendants’ financial gains by trading securities.

       11.     As KNIGHT wrote in a private direct message to another Twitter user on or about

January 10, 2021: “So much credibility . . . We own fintwit.” “Fintwit” describes a community

of Twitter users who discuss finance and stock trading.

       12.     The defendants used their credibility to maximize their own trading profits through

their tweets and posts in Atlas Trading Discord, often at the expense of their Twitter followers and

members of Atlas Trading Discord. Indeed, the defendants used their social media influence to

pump and dump securities for their own financial gain.

       13.     To do so, one or more of the defendants first purchased a security, often notifying

other defendants of the purchase so that they, too, could “load” and buy the security. After

purchasing or “loading” the security, one or more of the defendants sought to “pump” the price of


                                                 5
      Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 6 of 44




that security by posting false and misleading information about the security on Twitter and Atlas

Trading Discord so that other investors were induced to purchase the security and artificially

increase its price. The defendants “pumped” the price of securities by posting on Twitter and Atlas

Trading Discord the following types of false and misleading messages, among others:

             a. Messages representing that a defendant intended to hold the security, including for

                a “swing” or a longer-term trade, as opposed to a short-term trade or day trade;

             b. Messages representing that a defendant “joined” another defendant in purchasing

                the security or was “adding” to a position in the security;

             c. Messages concerning a purported price target for the security that was significantly

                higher than the price at which the security was currently trading, and that was higher

                than the defendants actually valued the security; and

             d. Messages concerning “due diligence” about the security and purported catalysts

                that would increase the security’s price over time.

       14.      These messages were false and misleading, and omitted material information,

because the defendants concealed their intent to use these messages to induce other investors to

purchase the securities so that defendants could sell their shares at a higher price at and around the

time of the messages. Indeed, because the defendants recognized that their followers on Twitter

and members of Atlas Trading Discord frequently purchased securities based on the defendants’

social media posts, the defendants sought to conceal from, and further mislead, their Twitter

followers and members of Atlas Trading Discord about the defendants’ true trading positions and

intentions. In this way, the defendants used social media to induce other investors to purchase and

hold the same securities that the defendants were selling or dumping so that the defendants could

maximize their own profits.


                                                  6
      Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 7 of 44




        15.        Certain of the defendants, for example, sought to mislead their Twitter followers

and members of Atlas Trading Discord by, among other things, falsely representing that they

(a) did not sell shares of a security or “dump” shares on their Twitter followers and members of

Atlas Trading Discord; and (b) did not “scalp” or secure short term profits at or around the time of

their social media posts. For example:

              a.   On or about November 10, 2020, MATLOCK falsely maintained on Atlas Trading

                   Discord that he did “NOT post plays so I can scalp 2 cents on my followers like

                   they want you to believe. I WOULDN’T BE HERE IF I DID THAT. . . . My

                   GOAL is to help THIS group [make] money and help make THIS group

                   successful.” 1

              b. On or about June 11, 2021, COOPERMAN falsely claimed in a tweet: “I just

                   wanna make it clear cause I have no reason to hide it… I BUY A STOCK . . then I

                   LET YALL KNOW what I bought. That doesn’t mean I’m dumping shares or

                   contracts on ANYONE. I’m not here to scalp 2cents on people . I want us all to win

                   together! LETS F*CKING KILL IT.”

              c. On or about August 4, 2021, DEEL falsely claimed in a tweet: “I buy stocks that I

                   think have a good chart and good news. That’s how I always play it and sometimes

                   it goes the wrong way. That’s trading. I never dump shares on alerts.”

              d. On or about February 20, 2022, CONSTANTIN falsely claimed in a tweet, “I never

                   dump on my followers . . . .”




        1
          Quotes from social media posts used throughout this Indictment present the text largely as it was
written and generally do not correct or identify typographical or grammatical errors.

                                                    7
      Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 8 of 44




       16.      Certain of the defendants also criticized on Twitter and Atlas Trading Discord other

people who lost money from purchasing securities that the defendants pumped and dumped and

who questioned whether the defendants were in fact trading in the way that they represented on

social media.

       17.      Indeed, the defendants’ efforts to mislead and conceal material information from

other investors concerning the defendants’ true trading activity was critical to the continued

success of the scheme, as reflected in the following exchange on or about July 8, 2020, between

MATLOCK and Co-Conspirator-1 (“CC-1”), who participated in running Atlas Trading Discord:

                CC-1:          hey the patterns is becoming to obvious with Atlas
                               [Trading Discord]. quickly gonna become exposed
                               like the stocktwits pump bros
                CC-1:          Hugh/Mystic [HENNESSEY/DEEL] post an idea ...
                               .2 mins later the other one joins!
                CC-1:          [Individual-1] posts a swing idea ... 2 mins later PJ
                               [MATLOCK] joins!
                CC-1:          we cant do it on 95% of the plays
                CC-1:          have to start treating it like we do with the goons
                MATLOCK: coo
                CC-1:          sweet convo!
                MATLOCK: They didn't even send it to me I seriously joined after
                         [Individual-1] posted lol
                MATLOCK: but i know how it looks
                CC-1:          ya i mean they just gotta tone that sh*t down a notch
                               lol




                                                 8
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 9 of 44




       18.    Similarly, CONSTANTIN instructed MATLOCK in a private Discord exchange

on or about January 20, 2021:

              CONSTANTIN:           It looks like we are front loading
              CONSTANTIN:           Yea when you post right after
              CONSTANTIN:           With [Individual-1] too
              CONSTANTIN:           Just save yours for a dip
              CONSTANTIN:           You post when there is a dip and say you
                                    joined then
              CONSTANTIN:           Works better because well save more plays
                                    that way
              CONSTANTIN:           No you’re good
              CONSTANTIN:           Just been seeing a lot of Twitter trash talking
                                    about it
              CONSTANTIN:           So we gotta look less obvious
              CONSTANTIN:           The dip buy sh*t is the best


       19.    KNIGHT expressed the following views during a recorded conversation on or about

February 24, 2021:

              . . . I mention a stock the less likely I get involved whenever all
              of Atlas gets a class action lawsuit . . . I’m playing this
              extremely smart, for the very long term. If you don’t think all
              these f*ckers go to jail or at least get sued, you are crazy. . . .
              PJ is posting McLarens, $10 mill accounts, green 400 f*cking
              days in a row, come on. Every purchase over $10,000
              immediately gets turned to the SEC. And it’s like everything
              he f*cking buys. . . . Just wait and see. . . . It’s market
              manipulation.




                                               9
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 10 of 44




                                             SXTC

       20.     From on or about September 11, 2020 to on or about September 14, 2020, DEEL,

RYBARCZYK, and MATLOCK collectively sought to pump and dump the security of the issuer

China SXT Pharmaceuticals, Inc., trading on the NASDAQ stock exchange under the ticker SXTC,

through false representations, pretenses, and material omissions.

       21.     On or about September 11, 2020 (Friday), DEEL informed RYBARCZYK on a

direct message on Discord how he “added SXTC today” and planned to “post” about the stock on

the following trading day (Monday). RYBARCZYK responded in part, “Thanks bro . . . I’ll add.”

       22.     On or about September 11 and September 14, 2020, DEEL purchased

approximately 62,103 shares of SXTC at an average price of approximately $0.242 per share. On

or about September 11, 2020, RYBARCZYK purchased approximately 400,000 shares of SXTC

at an average price of $0.247 per share.

       23.     On or about September 14, 2020 (Monday), DEEL forwarded to RYBARCZYK a

draft of the tweet that he planned to publish to his followers on Twitter. RYBARCZYK advised

DEEL to include the number of shares DEEL was purportedly purchasing “[j]ust to make it more

appealing [to DEEL’s Twitter followers] and if they see you’re adding 100,000-200,000 shares

they’ll likely be enticed to add with size.” RYBARCZYK also advised DEEL to add price targets

to his post. RYBARCZYK also explained to DEEL that he will “retweet [DEEL’s Twitter post]

on the first dip” of SXTC.

       24.     On or about September 14, 2020, between approximately 9:09:00 EST and 9:31:00

EST, MATLOCK purchased approximately 146,097 shares of SXTC at the approximate price of

$0.257 per share.




                                               10
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 11 of 44




        25.    On or about September 14, 2020, at approximately 9:32:06 EST, DEEL posted the

following false and misleading tweet, while omitting that he intended to sell his own shares in

SXTC:

               SXTC- Added 100k here extremely oversold RSI on this one
               recently granted NASDAQ extension to get price over $1 and
               insiders own 51% of this. Great set up for a big runner. A break of
               .30 takes us to .40 then .52 then .61. Love the setup here

By approximately 9:38:00 EST, DEEL sold all 62,103 shares of SXTC at an approximate price of

$0.280 per share, for an approximate profit of $2,381.24.

        26.    At approximately 9:33:00 EST, MATLOCK similarly started selling shares of

SXTC. At approximately 9:33:16 EST, MALOCK falsely claimed in Atlas Trading Discord how

he “grabbed a few SXTC with you,” while he concealed that he was in the process of liquidating

his position. By approximately 9:34:00 EST, MATLOCK sold all 146,097 shares of SXTC at an

approximate price of $0.27 per share and for an approximate profit of $1,863.47.

        27.   At approximately 9:33:48 EST, RYBARCZYK posted on Atlas Trading Discord

how he similarly “Added sxtc too . . . very bottomed penny.” At approximately 9:34:46 EST,

RYBARCZYK falsely claimed in a Twitter post that he was “[a]dding SXTC at these levels with

you” and included in his tweet the above-referenced tweet of DEEL that RYBARCZYK helped

DEEL draft to “entice” others to purchase shares of SXTC. At approximately 9:35:00 EST,

RYBARCZYK also started to sell his shares of SXTC. Between approximately 9:35:00 EST and

10:29:00 EST, RYBARCZYK sold all 400,000 of his shares at an approximate price of $0.285 per

share and for an approximate profit of $15,079.12.

        28.   DEEL and RYBARCZYK respectively continued to post false and misleading

information about SXTC on Twitter and Atlas Trading Discord in or around the time they

continued to sell shares of SXTC.

                                               11
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 12 of 44




       29.     After he had sold all of his shares in SXTC, DEEL falsely claimed in a tweet at

approximately 9:50:06 EST that “$SXTC we holding above .30 now we were very early here and

this honestly should run for days to come from these levels.”

       30.     By approximately 10:29:00 EST, DEEL, MATLOCK and RYBARCZYK had sold

every share of SXTC they respectively held at an approximate average price of $0.281 and for

approximate combined profits of $19,323.83.

                                              TRCH

       31.     In or around February 2021, MATLOCK, DEEL, HENNESSEY, and others

collectively sought to pump and dump the security of the issuer Torchlight Energy Resources, Inc.,

which at the time traded on the NASDAQ under the ticker TRCH (currently trading as MMAT),

through false representations, pretenses, and material omissions.

       32.     On or about February 10, 2021, and between approximately 7:00:00 EST and

approximately 10:11:00 EST, MATLOCK, RYBARCZYK, DEEL, COOPERMAN, HENNESSY

and KNIGHT had collectively purchased 964,947 shares of TRCH at an approximate average price

of $1.83.

       33.     On or about February 10, 2021, at approximately 10:11:04 EST, HENNESSEY

posted on Atlas Trading Discord that he was “Long TRCH for merger.” At approximately

10:11:08 EST, HENNESSY falsely claimed in a tweet: “New swing $TRCH[.] They HAD to do

an offering to get to the level of cash they needed[.] NOW the merger is full steam ahead baby . .

. .” A “swing” is a term used to describe a position in a security that is held over the medium or

long term, as opposed to a day trade.

       34.     On or about February 10, 2021, at approximately 9:50:00 EST, DEEL had started

selling shares of TRCH. At approximately 10:11:48 EST, DEEL misleadingly claimed on Atlas


                                               12
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 13 of 44




Trading Discord that he “added TRCH,” while omitting the material information that he had begun

to sell his own shares. By approximately 10:16:00 EST, DEEL had sold all of his shares of TRCH

at an approximate average price of $2.12.

       35.     On or about February 10, 2021, and between approximately 10:12:00 EST and

approximately 10:13:00 EST, COOPERMAN, RYBARCZYK, DEEL, KNIGHT and MATLOCK

collectively sold 214,017 shares of TRCH at an approximate average price of $2.09.

       36.     On or about February 10, 2021, at approximately 10:13:38 EST, MATLOCK

falsely claimed in a tweet: “$TRCH probably going to 3 today. Merger to be done soon. Ripping

right now. I have some under $2 but adding dips on it with Hugh.” At the approximate time of

this tweet, TRCH was trading at an approximate price of $2.15 per share.

       37.     On or about February 10, 2021, and between approximately 10:13:39 EST and

approximately 10:22:00 EST, RYBARCZYK, DEEL, KNIGHT, COOPERMAN, HENNESSEY,

and MATLOCK collectively sold approximately 286,413 shares of TRCH at an approximate

average price of $2.22. In or around the time they were selling or dumping TRCH shares, DEEL,

MATLOCK and HENNESSY continued to post purportedly positive information about TRCH on

Atlas Trading Discord and Twitter.

       38.     Despite claiming on or about February 10, 2021, at approximately 10:11:00 EST

that he was “long” TRCH and trading it for a “swing,” HENNESSEY had sold his entire position

of approximately 196,000 TRCH shares on or about February 10, 2021, by approximately

12:39:00 EST at an approximate price of $2.60 per share and for an approximate profit of

$166,274.40.




                                              13
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 14 of 44




        39.    On or about February 16, 2021, at approximately 13:36:37 EST, MATLOCK

tweeted: “$TRCH adding 100k shares here just now 4.22. We’re setting up beautifully for power

hour.” Approximately one minute later, at 13:37:49 EST, MATLOCK falsely tweeted that he

believed “$TRCH will be a $10+ stock IMO.”           Starting at approximately 13:38:00 EST,

MATLOCK started to sell his TRCH shares. By approximately 14:01:00 EST, MATLOCK had

sold his entire position of approximately 100,000 TRCH shares at the approximate price of $4.45

per share and for an approximate profit of $22,828.62.

        40.    Despite trading in and out of TRCH in or around the times of his social media

messages, MATLOCK falsely claimed that he was a longer-term holder in TRCH on February 16,

2021, and tweeted: “$TRCH our core swing is from 2.50’s to 2.60’s[.] no need to worry. We

need dips for health, keep rollin baby.”

        41.    In or around February 2021, MATLOCK, RYBARCZYK, DEEL, COOPERMAN,

HENNESSEY, and KNIGHT profited approximately $876,106 from the pump and dump of

TRCH.

                                              GTT

        42.    In or around March 2021, RYBARCZYK and MATLOCK collectively sought to

pump and dump the security of the issuer GTT Communications, Inc., trading on the New York

Stock Exchage under the ticker GTT, through false representations, pretenses, and material

omissions.

        43.    On or about March 1, 2021, by approximately 13:37:00 EST, RYBARCZYK,

DEEL, COOPERMAN, and KNIGHT collectively had purchased and held approximately 301,300

shares of GTT at an average price of $1.76.




                                               14
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 15 of 44




       44.     On or about March 1, 2021, at approximately 13:37:35 EST, RYBARCZYK falsely

claimed in a tweet that “$GTT 24RSI +++ major multi billion $$$ catalyst,” while omitting the

material information that he intended to sell his own shares of GTT. At or about the time of

RYBARCZYK’s tweet, KNIGHT stated in a recorded conversation in reference to

RYBARCZYK’s tweet:          “Oh, there it is!      Tweet, tweet, tweet.    There’s the tweet!” At

approximately 13:38:00 EST through approximately 13:39:00 EST, COOPERMAN, KNIGHT

and DEEL collectively sold approximately 35,750 shares of GTT at an approximate average price

of $1.84 for an approximate profit of $1,999.56.

       45.     In the same recorded conversation and on or about the time as RYBARCZYK’s

tweet, KNIGHT stated: “I don’t think [RYBARCZYK] will accept [the price of GTT] not going

this much. I refuse to believe it. He’s got more pumpers in him.”

       46.     At approximately 13:39:26 EST, RYBARCZYK tweeted: “$GTT 110M market

cap with 2B+ deal in place.” From approximately 13:40:00 EST to approximately 14:45:00 EST,

RYBARCZYK, DEEL, and KNIGHT collectively sold 243,300 shares of GTT at an approximate

average price of $1.86 for an approximate profit of $24,349.18.

       47.     In the same recorded conversation, KNIGHT described selling his shares of GTT

and how “I’m making it look natural . . . . you know, shares going in, shares coming out” and that

he was “dumping into the bid . . . .”

       48.     Later in that same recorded conversation, KNIGHT and Co-Conspirator-2 (“CC-

2”) had the following exchange about trading GTT:

               KNIGHT:         . . . my first buy was 35,000, my next was 7,500 . . .

               CC-2:           I know, I just, I don’t wanna . . .

               KNIGHT:         Why?


                                                 15
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 16 of 44




               CC-2:          . . . get caught, so I’ll just add slowly.

               KNIGHT:        Get caught?

               CC-2:          I just wanna do it the right way, I don’t wanna like . . .

               KNIGHT:        The f*cking right way? We’re robbing f*cking
                              idiots of their money.

       49.     Later in the same recorded conversation, COOPERMAN described in part how

RYBARCZYK used social media to pump the price of securities:

               Like, what [RYBARCZYK] does is he alerts it, and then, like, five
               minutes later all his little minions start, like, retweeting it, and
               saying ‘added with him,’ so it, like, builds the hype back up. It
               happens every single time. They have this sh*t down to a f*cking
               science. It’s great.

       50.     On or about March 1, 2021, between approximately 15:51:00 EST and

15:57:00 EST, MATLOCK purchased approximately 317,916 shares of GTT at an approximate

average price of $1.83. At approximately 16:07:46 EST, MATLOCK falsely claimed in Atlas

Trading Discord that “I just added GTT with Ultra,” a reference to the Discord account of

RYBARCZYK, and without disclosing his intent to immediately sell his shares. Starting at

approximately 16:08:00 EST, MATLOCK started to sell shares of GTT. By approximately

16:22:00 EST, MATLOCK had sold his entire position of approximately 317,916 GTT shares at

the approximate price of $1.99 per share and for an approximate profit of $50,709.00. After selling

all of his shares in GTT, MATLOCK falsely claimed in Atlas Trading Discord that he “will [hold]

overnight GTT . . . .”

       51.     On or about March 1, 2021, at approximately 16:06:57 EST, RYBARCZYK falsely

claimed in a tweet a goal of “$GTT Short Squeeze to $3” when GTT was trading at approximately

$2 per share. At approximately 16:08:00 EST, RYBARCZYK sold 90,708 shares of GTT. At

approximately 16:09:17 EST, RYBARCZYK falsely claimed in a tweet that “$GTT won’t end


                                                 16
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 17 of 44




pretty on the short side. Book value $3.44,” on or about when GTT was trading at approximately

$1.98 per share. Between 17:19:00 EST and 17:22:00 EST, RYBARCZYK sold an additional

50,000 shares of GTT. After selling his shares throughout the day, RYBARCZYK tweeted:

“$GTT Insane weekly; One of the most beat up technology names out there. Just playing the

bounce here.”

         52.    Around March 2021,       RYBARCZYK, MATLOCK, DEEL, HRVATIN,

COOPERMAN, and KNIGHT profited approximately $199,530.17 from the pump and dump of

GTT.

                                            SURF

         53.    In or around May 2021, MATLOCK, DEEL, COOPERMAN, and HENNESSEY

collectively sought to pump and dump the security of the issuer Surface Oncology, Inc., trading

on the NASDAQ under the ticker SURF, through false representations, pretenses, and material

omissions.

         54.    From on or about May 10, 2021 to on or about May 19, 2021, at approximately

9:51:00 EST, MATLOCK, DEEL, COOPERMAN, HENNESSEY, and KNIGHT collectively

purchased and held approximately 539,389 shares of SURF at an approximate average price of

$8.24.

         55.    In between purchasing these shares, on or about May 18, 2021, MATLOCK

privately messaged Co-Conspirator-1 on Discord that he “got a couple surf” and “Hugh

[HENNESSEY] gonna post. Im gonna wait a while then post.” MATLOCK continued: “Not

posting until tomorrow [May 19, 2021] just because not enough time and he [HENNESSEY] didn’t

get everything ready.”




                                              17
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 18 of 44




        56.   On or about May 19, 2021, at approximately 9:51:27 EST, HENNESSEY claimed

in a tweet and in a post on Atlas Trading Discord: “I am long $SURF - have been stalking this

company and would be shocked if acquisition deal was not done by EOY . . . .” HENNESSEY

also cited to positive information about SURF for the “short term.” In the following minutes,

HENNESSEY continued to tweet and post in Atlas Discord Trading positive information about

SURF.

        57.   On or about May 19, 2021, at approximately 9:57:20 EST, MATLOCK

misleadingly claimed in a post in Atlas Trading Discord that he was “Long SURF with

[HENNESSEY] adding here on this pullback . . . ,” without disclosing his intent to sell his own

shares. By the end of the day, MATLOCK had sold all of his shares of SURF at an approximate

price of $8.871 per share and for an approximate profit of $102,507.18.

        58.   On or about May 19, 2021, at approximately 10:00:32 EST, COOPERMAN falsely

claimed in a tweet that he was “swinging this $SURF with [HENNESSEY] he just dropped insane

DD [or due diligence] on his twitter.” At approximately 9:57:00 EST, and after falsely claiming

that he was swinging or holding SURF for a longer-term position, COOPERMAN started to sell

his shares of SURF. By approximately 10:08:00 EST, COOPERMAN had sold 35,000 shares of

SURF and closed his position at an approximate price of $9.03 per share for an approximate profit

of $28,702.58. Later in the day and while holding zero shares of SURF, COOPERMAN falsely

claimed in a tweet: “Added to my $SURF position right before close. Still scaling into my swing.

. . . Ill swing by for $12 or june 4. whatever happens first . . . I have more money to add if it

continues to go down… THIS IS MY LAST TWEET ABOUT IT. You know my plan !”

        59.   On or about May 19, 2021, at approximately 10:01:23 EST, DEEL falsely claimed

in a post in Atlas Trading Discord that he was “[a]dding some SURF with you guys below 9.20


                                               18
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 19 of 44




here. Nice find with this daily chart breaking outta downtrend.” At approximately 10:04:00 EST,

DEEL started selling shares of SURF. By approximately 11:30:00 EST, DEEL sold approximately

167,300 shares of SURF at an approximate price of $8.76 per share and for an approximate profit

of $129,873.87.

       60.     On or about May 19, 2021, at approximately 10:04:00 EST and approximately

thirteen minutes after falsely claiming that he was “long” SURF, HENNESSEY started selling

shares of SURF. In between selling his shares of SURF, HENNESSEY falsely claimed in a tweet

that he “[w]on’t need to post about her much. $Surf already tons of dd out there[.] Unless new

DD comes out. Only way I’ll be out of this one is if bad catalyst. Long and strong babyyy . . . .”

On or about May 19, 2021, and by approximately 10:44:00 EST, HENNESSEY had sold

approximately 76,500 shares of SURF at an approximate price of $8.86 per share. On or about

June 1, 2021, HENNESSEY sold his remaining 10,000 shares of SURF for an approximate profit

of $125,825.90.

       61.     In or around May 2021, MATLOCK, DEEL, COOPERMAN, HENNESSY, and

KNIGHT profited approximately $392,651 from the pump and dump of SURF.

                                             ALZN

       62.     In or around June 2021, MATLOCK, DEEL, COOPERMAN, and HENNESSEY

collectively sought to pump and dump the security of the issuer Alzamend Neuro, Inc., trading on

the NASDAQ under the ticker ALZN, through false representations, pretenses, and material

omissions.

       63.     On or about June 30, 2021, between approximately 12:24:00 EST and

13:01:00 EST, DEEL, COOPERMAN, and MATLOCK purchased approximately 82,209 shares

of ALZN at an approximate average price of $11.11 per share.


                                               19
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 20 of 44




       64.     On or about June 30, 2021, at approximately 12:37 EST, DEEL exchanged the

following private messages with RYBARCZYK about the forthcoming plan relating to ALZN:

               DEEL:                          we are loading these shares back
                                              down here on ALZN to send to nhod
                                              [new high of the day] after lunch if
                                              you want anymore . . . .

               RYBARCZYK:                     Yes sir!

                                              ...

               DEEL:                          hugh [HENNESSEY] says get size . .
                                              ..

               DEEL at 12:59:50 p.m.:         posting

       65.     On or about June 30, 2021, at approximately 13:01:57 EST, DEEL falsely claimed

in a tweet how “$ALZN is now my largest swing position open. We broke 12 earlier, but that was

a tease on what this will do. I added these dips through lunch and now I will ride this for new highs

and more. I like the potential here and the market is hot for it.” At approximately 13:02:07 EST,

DEEL posted the same message on Atlas Trading Discord.

       66.     On or about June 30, 2021, at approximately 13:02:00 EST and through

approximately 13:11:00 EST, MATLOCK sold 24,000 shares of ALZN at an approximate price

of $11.66 per share and closed his position. While selling his shares, MATLOCK posted in Atlas

Trading Discord about ALZN and falsely claimed that he was “holding ALZN” approximately 24

minutes after he closed his position.

       67.     On or about June 30, 2021, at approximately 13:02:00 EST, COOPERMAN sold

his entire position in ALZN at an average price of $11.43 per share. After selling his position and

holding zero shares, COOPERMAN falsely claimed in Atlas Trading Discord that he was “still

holding and added to ALZN . . . .”



                                                 20
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 21 of 44




       68.     On or about June 30, 2021, at approximately 13:03:00 EST and 13:06:00 EST and

approximately one minute after claiming that he “will ride [ALZN] for new highs and more,”

DEEL sold approximately 13,149 shares of ALZN at an approximate price of $11.63 per share.

       69.     On or about June 30, 2021, at approximately 13:08:49 EST, DEEL falsely claimed

in a tweet that “$ALZN the market is expected to exceed 10 BILLION by 2025. This is a great

swing potential and we will see new high of day before close.” At approximately 13:09:00 EST,

DEEL continued to sell shares of ALZN. By approximately 13:26:00 EST, DEEL had sold

approximately 34,851 shares of ALZN at an average price of $11.87 per share and closed his

position. Approximately three minutes after closing his position in ALZN, DEEL falsely claimed

in a tweet: “$ALZN 12 broke for a sec and pulled back for now. I am still swinging this one so

not really worrying about 12 reject there yet.”

       70.     In or around June 2021, MATLOCK, DEEL, COOPERMAN, and HENNESSEY

profited approximately $212,822 from the pump and dump of ALZN.

                                                  UPC

       71.     In or around July 2021, RYBARCZYK, COOPERMAN, and DEEL collectively

sought to pump and dump the security of the issuer Universe Pharmaceuticals, Inc., trading on the

NASDAQ under the ticker UPC, through false representations, pretenses, and material omissions.

       72.     On or about July 22, 2021, as of approximately 17:00:00 EST, RYBARCZYK,

COOPERMAN, and DEEL collectively purchased and held 303,898 shares of UPC at an

approximate price of $3.359 per share.

       73.     On or about July 22, 2021, at approximately 17:03:15 EST, DEEL falsely claimed

in a tweet: “$UPC I just went back and looked at this chart. Back in March the price went from

5.16 to 11.99. Volume is coming into this name this evening and in AH. I added here for an


                                                  21
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 22 of 44




overnight hold. I am looking for a gap up and for this to be tomorrow's runner. Added 100k shares.”

At approximately 17:03:44 EST, DEEL falsely claimed in Atlas Trading Discord that “I just added

UPC for an overnight [hold] too.” At approximately 17:03:47 EST, COOPERMAN falsely

claimed in a tweet how he “added 50,000 shares of this $UPC i think it can be a big over night

rapper chart looks nice for a big over night move.”

       74.      At approximately 17:05:00 EST, DEEL and COOPERMAN started to sell shares

of UPC at an approximate price of $4.464 per share.          In between selling shares of UPC,

COOPERMAN claimed in a post in Atlas Trading Discord that he purchased or “took” shares of

UPC “because ultra [RYBARCZYK] was talking about it . . . .”

       75.      By approximately 17:15:00 EST and despite claiming approximately ten minutes

earlier that UPC would be an “overnight” hold COOPERMAN had sold all 50,000 shares of UPC

at an approximate price of $4.619 for an approximate profit of $21,177.69.

       76.      At approximately 18:14:58 EST, DEEL falsely claimed in a tweet that he was

“riding full $UPC for tomorrow. We are in at good prices from when I first posted, but I’m holding

for morning. That’s just MY plan because I think it runs hard. YOU do what you want. I’ll

holler.”     By approximately 19:58:00 EST, DEEL had sold approximately 110,000 of

approximately 154,098 shares of UPC that he had purchased before first tweeting and posting in

Atlas Trading Discord about UPC.

       77.      At approximately 17:37:13 EST, COOPERMAN—after he had sold all 50,000

shares of UPC—falsely claimed in a tweet how he was “holding 50K $UPC over night . you guys

are all green on it manage your trade from here. you know MY plan.” COOPERMAN included in

that tweet a picture that purported to show a holding of 50,000 shares of UPC. Another Twitter

user commented on the tweet and wrote, “Dude you are a joke . . . you already dumped [clown


                                                22
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 23 of 44




face emoji].” COOPERMAN responded in a tweet, “ok! Haha crazy how the tape doesn’t show

a 50k dump . . . ANYWHERE haha.”

       78.     On or about July 23, 2021, at approximately 7:19:19 EST, RYBARCZYK falsely

claimed in a tweet: “$UPC no BS here. Full position intact, I don’t dump. I think we get a halt

up at open . . . .” At approximately 7:34:00 EST, RYBARCZYK sold approximately 50,000 shares

of UPC. By approximately 9:39:00 EST, RYBARCZYK had sold all of his shares of UPC at an

approximate price of $4.437 per share for an approximate profit of $193,923.02.

       79.     On or about July 23, 2021, between 08:54:00 EST and 9:41:00 EST,

COOPERMAN purchased new shares and proceeded to sell all of those shares while falsely

claiming on Twitter: “UPC still holding the over night lets goooooo.” During the same period,

DEEL sold all of his remaining shares of UPC in between falsely claiming in a tweet: “$UPC

popping off at open. This is why I didn’t sell in the PM lets halt up.”

       80.     In or around July 2021, MATLOCK, RYBARCZYK, DEEL, and COOPERMAN

profited approximately $365,550 from the pump and dump of UPC.

                                              ABVC

       81.     In or around August 2021, RYBARCZYK pumped and dumped the security of the

issuer ABVC BioPharma, Inc., trading on the NASDAQ under the ticker ABVC, through false

representations, pretenses, and material omissions.

       82.     On or about August 11, 2021, and by approximately 8:11:00 EST, RYBARCZYK

had purchased and held approximately 303,289 shares of ABVC at an approximate price of $3.489

per share.




                                                23
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 24 of 44




       83.    On or about August 11, 2021, at approximately 8:24:28 EST, RYBARCZYK

tweeted: “$ABVC Soaked a ton between yesterday and a few fills when I got up. High conviction

play $6+ first target. Keep on your WL for coming days.” At approximately 9:30:03 EST,

RYBARCZYK claimed in a tweet: “$ABVC LONG $6+++.”

       84.    Starting at approximately 9:35:00 EST, RYBARCZYK started selling his shares of

ABVC.

       85.    In between selling shares of ABVC at approximately 9:40:29 EST, RYBARCZYK

falsely claimed in a tweet that “$ABVC Still goes $6+.”

       86.    In between selling more shares of ABVC at approximately 10:05:02 EST,

RYBARCZYK falsely claimed in a tweet: “$ABVC Not anywhere near done. Full position intact.

90% of swings all explode.”

       87.    In between continuing to sell more shares of ABVC at approximately

10:34:59 EST, RYBARCZYK falsely claimed in a tweet: “$ABVC Near entry now. Holding

300k full.”

       88.    By approximately 12:25:00 EST, RYBARCZYK closed his position in ABVC after

selling approximately 303,289 shares of ABVC at an approximate price of $3.685 per share and

for an approximate profit of $59,345.48.

       89.    Despite profiting over $59,000 on the trade of ABVC and selling all of his shares

while falsely maintaining that he was holding his position, RYBARCZYK falsely claimed in a

tweet at approximately 16:49:17 EST that he was a “[b]ag holder”—at or about the time that the

price of ABVC had declined—and falsely maintained that “I hold my word and don’t dump on

anyone.”




                                              24
       Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 25 of 44




           90.      On August 11, 2021, ABVC closed at an approximate price of $3.58 per share. On

August 12, 2021, ABVC opened at a price of $2.71 per share. On or about August 12, 2021, at

approximately 10:30:02 EST, RYBARCZYK claimed “sorry all about $ABVC[.] Taking time to

make sure next is a big winner. I’ll make sure it’s available to discord and Twitter same time too

. . . .”

                                                   CEI
           91.      From in or around August 2021 to in or around October 2021, CONSTANTIN,

MATLOCK, RYBARCZYK, DEEL, HRVATIN, and COOPERMAN collectively pumped and

dumped the security of the issuer Camber Energy, Inc., trading on the New York Stock Exchange

under the ticker CEI, through false representations, pretenses, and material omissions.

           92.      From in or around August 2021 to in or around October 2021, the defendants

collectively sought to pump the price of CEI by tweeting and posting in Atlas Trading Discord

approximately one thousand times. Indeed, the price per share of CEI rose from approximately

$0.46 a share on or about August 3, 2021, to an approximate high of $4.37 per share on or about

September 30, 2021, and closed at an approximate price of $1.30 per share on or about October

29, 2021.

           93.      During this period, certain of the defendants made false tweets and posts in Atlas

Trading Discord relating to CEI to induce individual investors to purchase the security, while at

the same time selling shares of CEI at a profit without disclosing their true trading intentions. For

example:

                 a. On or about August 4, 2021, at approximately 15:38:17 EST, MATLOCK falsely

                    claimed in Atlas Trading Discord that he was “[a]dding CEI with [DEEL] that’s

                    cheap AF.” Starting at approximately 15:39:00 EST, MATLOCK began to sell the

                    825,429 shares of CEI that he had previously purchased at an approximate price of

                                                    25
Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 26 of 44




       $0.465. By approximately 15:54:00 EST, MATLOCK had sold approximately all

       shares of CEI for an approximate profit of $11,836.51.

    b. On or about August 4, 2021, at approximately 15:43:59 EST, COOPERMAN

       falsely claimed in a tweet that he was “adding CEI here for a swing[,] last time it

       touched these levels on the daily we saw a move of 3+ . . . .” In this post,

       COOPERMAN also claimed that there was “lots of DD” or due diligence on

       DEEL’s Twitter account. In or around this tweet, COOPERMAN was selling his

       shares of CEI and closed his position in CEI at approximately 15:45:00 EST at an

       approximate price of $0.474 and for an approximate profit of $3,440.41.

    c. On or about August 4, 2021, at approximately 16:06:11 EST and 16:15:33 EST,

       DEEL falsely claimed in a tweet and in a post in Atlas Trading Discord that he was

       “holding and adding more” CEI share in afterhours and that he was “holding full

       into tomorrow.” Prior to and after these messages, DEEL had been consistently

       selling out of his position in CEI.

    d. On or about August 5, 2021, at approximately 11:11:22 EST, DEEL falsely claimed

       in a tweet: “Don’t panic on $CEI and tag me every 20 minutes. It’s a swing. I’m

       adding all day. I alerted this yesterday at .46 and we are holding nicely right under

       .50 currently. I think we get a close over .50 by end of day and start the climb

       higher. There was hint of a PR tomorrow too.” At approximately 11:47:00 EST,

       DEEL started selling out of his position in CEI. By approximately 12:03:00 EST,

       DEEL closed his position in CEI, selling approximately 508,822 shares at an

       approximate price of $0.513 and for an approximate profit of $37,565.93.




                                         26
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 27 of 44




       94.      On or about August 11, 2021, and after he had closed his position in CEI on or

about August 5, 2021, COOPERMAN falsely claimed in a tweet that he was still holding CEI and

wrote: “On swings like CEI ETC . You guys think that me not saying anything means I’m not in.

It doesn’t . I just don’t see the need to keep tweeting or pushing swings. Let them do their thing.

When the move happens and we bank I’ll let you know.”

       95.      In or around September 2021, certain of the defendants continued seeking to pump

and dump CEI by publishing false messages on Twitter and Atlas Trading Discord in order to sell

their own shares of CEI for a profit. For example, on or about September 10, 2021, at 15:45:00

EST, MATLOCK purchased approximately 130,000 shares of CEI at approximately $1.507 per

share. At approximately 15:46:24 EST, MATLOCK falsely claimed in Atlas Trading Discord that

“CEI looking good.” At approximately 15:47:00 EST, MATLOCK sold all 130,000 shares of CEI

at an approximate price of $1.511 for an approximate profit of $165.49.

       96.      In or around September 2021, certain of the defendants also falsely claimed to be

holding shares of CEI when they were not. For example:

             a. On or about September 1, 2021, at approximately 15:05:32 EST, COOPERMAN

                tweeted:   “when me @MrZackMorris @notoriousalerts @LadeBackk are in

                something. you strap your f*ckin boner pants on and you say thank you. $CEI.”

             b. On or about September 9, 2021, at approximately 16:02:06 EST, RYBARCZYK

                tweeted: “$CEI That’s a triple now @LadeBackk @MrZackMorris loving the

                action. Thanks for mentioning this idea. On the way to the $2 dolla bill next.”

             c. On or about September 26, 2021, at approximately 16:01:28 EST, RYBARCZYK

                falsely claimed in a tweet: “$CEI I’m still full on this too. I wouldn’t be tweeting

                about it every other day if I wasn’t.”


                                                 27
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 28 of 44




       97.      In or around September 2021, certain of the defendants sought to pump the share

price of CEI by falsely claiming in tweets that CEI could reach $10 per share in or around the time

CEI was trading below and around $3 per share. For example:

             a. On or about September 24, 2021, at approximately 11:51:12 EST, HRVATIN

                falsely claimed in a tweet that “$CEI this can go to $10.” Between approximately

                12:17:00 EST and approximately 12:33:00 EST, HRVATIN sold his entire position

                of CEI at an approximate price of $2.187 and for an approximate profit of

                $10,898.24.

             b. On or about September 27, 2021, at approximately 14:26:36 EST, HRVATIN

                falsely claimed in a tweet: “$CEI it’s not a game. Just based on #OIL and #GAS

                we should be a $10 stock because we are seeing commodity prices or #GAS up

                500% from the 2020 lows. You do the math. I already did it. And we’re just starting

                . . . .” Between approximately 14:28:00 EST and approximately 14:57:00 EST,

                HRVATIN closed his position by selling approximately 150,000 shares of CEI at

                an approximate price of $2.563 and for an approximate profit $15,953.48.

             c. On or about September 27, 2021, and on or about the approximate time of

                HRVATIN’s tweets, CONSTANTIN retweeted a tweet of HRVATIN’s in which

                HRVATIN falsely claimed that “$CEI is a $10 stock all day long” and also falsely

                claimed that “OIL going to $100 $CEI going to $10.”

             d. On or about October 3, 2021, at approximately 9:02:53 EST, COOPERMAN

                tweeted: “Looking directly into @MrZackMorris eyes as he whispers ‘$CEI is

                going to 10 to me . . . .”




                                                28
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 29 of 44




       98.      On or about October 5, 2021, at approximately 10:32:12 EST, CONSTANTIN

falsely claimed in a tweet “$CEI 10+” and provided a link to a tweet of a Reuters.com news article

describing how the price of oil would rise to “100+ in Winter months.” Between approximately

11:06:00 EST and approximately 11:11:00 EST, CONSTANTIN sold approximately 2,070,000

shares at an approximate price of $2.609 for an approximate profit of $4,301,439.70 and closed

his position.

       99.      In or around August 2021 to in or around October 2021, the defendants collectively

profited approximately $5,462,312.75 on the pump and dump of CEI.

                                              DATS

       100.     From in or around August 2021 to in or around October 2021, CONSTANTIN,

MATLOCK, RYBARCZYK, DEEL, HRVATIN, COOPERMAN, HENNESSEY, and KNIGHT

collectively pumped and dumped the security of the issuer DatChat, Inc., trading on the NASDAQ

under the ticker DATS, through false representations, pretenses, and material omissions.

       101.     From on or about August 15, 2021 to on or about September 1, 2021,

CONSTANTIN, RYBARCZYK, DEEL, HRVATIN, COOPERMAN, HENNESSEY, and

KNIGHT collectively purchased and held approximately 833,054 shares of DATS at an

approximate price of $3.729.

       102.     On or about August 23, 2021, CONSTANTIN privately messaged on Twitter

Individual-2 the following:

                       CONSTANTIN:           [forwarding a link to a chat room]
                       CONSTANTIN:           That’s my secret dat chat
                       CONSTANTIN:           I’m keeping the room locked
                       CONSTANTIN:           We’re only buying on float ipos and
                                             locking up the float
                       CONSTANTIN:           Without pumping on Twitter


                                                29
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 30 of 44




                      CONSTANTIN:           Keep this to yourself. I’m only
                                            inviting people I think are good
                      Individual-2:         I’m in
                      Individual-2:         Lips are sealed
                      CONSTANTIN:           We have the dats float locked
                      Individual-2:         YES. I’m holding. In at 4.76

       103.   In or around September 2021 to in or around October 2021, the defendants

collectively sought to pump the price of DATS by tweeting and posting in Atlas Trading Discord

approximately three hundred times. Indeed, the price per share of DATS rose from approximately

$4 a share in or around August 2021—in or around the time when CONSTANTIN secretly planned

to load shares of DATS with others—to an approximate high of $15.09 per share on or about

October 12, 2021. On or about December 2, 2021, DATS closed at approximately $3.74 per share.

       104.   Certain of the defendants made false and misleading tweets and posts in Atlas

Trading Discord about DATS to induce other investors to purchase the security, while at the same

time selling shares of DATS for a profit. For example:

           a. On or about September 14, 2021, between approximately 14:38:00 EST and

              approximately 14:40:00 EST, HRVATIN purchased approximately 10,000 shares

              of DATS at an approximate price of $7 per share. On or about 14:48:09 EST,

              HRVATIN falsely claimed in a tweet: “$DATS loading here for a swing. $7 will

              be cheap when it squeezes.”          Between approximately 14:51:00 EST and

              approximately 14:52:00 EST, HRVATIN closed his position by selling all 10,000

              shares of DATS at an approximate price of $7.360 per share and for an approximate

              profit of $3,602.00.

           b. On or about September 17, 2021, between approximately 9:46:00 EST and

              approximately 9:54:00 EST, COOPERMAN purchased approximately 14,000

                                              30
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 31 of 44




              shares of DATS at an approximate price of $8.715 per share. At approximately

              9:54:57 EST, COOPERMAN falsely claimed that he was “adding dips on DATS,

              holding this support nice. 9 break sends us to 9.50 – 10.” At approximately 9:56:00

              EST, COOPERMAN closed his position in DATS by selling approximately 14,000

              shares at the approximate price of $8.887 per share and for a profit of approximately

              $2,404.25.

       105.   In or around September and October 2021, CONSTANTIN, while holding shares

of DATS, falsely claimed purported price targets for DATS that were significantly higher than its

current price per share and falsely claimed that DATS had longer-term catalysts. For example:

           c. On or about September 23, 2021, CONSTANTIN falsely claimed in a tweet:

              “$DATS I want $30+ with all the upcoming catalysts.” On or about September 23,

              2021, DATS closed at the approximate price of $10.29 per share.

           d. On or about September 24, 2021, CONSTANTIN falsely claimed in a tweet:

              “$DATS We’re early and shorts are trying hard. We’ll squeeze that seeking alpha

              hoe. He’s short. See you at over $30 b*tches.” CONSTANTIN included in this

              tweet a picture of purported upcoming milestones of DATS through Q4 2021. On

              or about September 24, 2021, DATS closed at an approximate price of $12.99 per

              share.

           e. On or about September 28, 2021, CONSTANTIN falsely claimed in tweet:

              “$DATS $30+ maybe $50 or $100.” On or about September 28, 2021, DATS

              closed at the approximate price of $14.61 per share.

           f. On or about October 8, 2021, CONSTANTIN falsely claimed in a tweet: “$DATS

              has nothing to do with CEI. The scam paid room was grouping them together.


                                               31
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 32 of 44




               We’re going to $10 $20 $30 maybe $50. Sick app and only 12 million float with

               lots of catalysts on the way.” On or about October 8, 2021, DATS closed at the

               approximate price of $11.72 per share.

       106.    In or around October 2021, certain of the defendants continued to try to pump the

price of DATS through false messages relating to DATS while secretly selling their own shares

for a profit. For example:

           g. On or about October 13, 2021, at approximately 6:24:32 EST, HRVATIN falsely

               claimed in a tweet: “$DATS 8-K out. I like this part. See you at $20.” Between

               approximately 7:00:00 EST and 7:03:00 EST, HRVATIN closed his position in

               DATS by selling approximately 24,703 shares of DATS at an approximate price of

               $16.006 and for an approximate profit of $21,318.25.

           h. On or about October 13, 2021, at approximately 9:18:13 EST, CONSTANTIN

               falsely claimed in a tweet: “$DATS See you on Mars[,]” a Fintwit reference for

               the share price of security to rise considerably.          Between approximately

               9:35:00 EST    and    approximately      10:32:00   EST,    CONSTANTIN         sold

               approximately 466,880 of approximately 512,822 shares in DATS at an

               approximate price of $15.567 and for an approximate profit of $5,337,820.52. On

               or about October 13, 2021, at approximately 7:22:32 EST and after selling

               approximately 466,880 shares of DATS, CONSTANTIN falsely claimed in a tweet

               “$DATS I’m holding shares LT [long term]. I could careless of [sic] a short report

               comes out. I’ll gobble up the dip and f them.”

           i. On or about October 14, 2021, at approximately 11:30:02 EST, CONSTANTIN

               falsely claimed in a tweet: “$DATS Let’s do a short report at the bottom. Lol idiots


                                               32
        Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 33 of 44




                squeeze these hoes. $DATS $30++.” Between approximately 11:36:00 EST and

                11:48:00 EST, CONSTANTIN sold approximately 300,000 of approximately

                695,942 shares of DATS at an approximate price of $11.476 and for an approximate

                profit of $715,943.76.

         107.   On or about October 18, 2021, CONSTANTIN closed his positions in DATS.

         108.   On or about November 3, 2021, and after falsely touting the long-term prospects of

DATS for weeks through posts on Twitter, CONSTANTIN was asked in a Twitter direct message

by another Twitter user: “You holding large on DATS still?” CONSTANTIN responded, “No

lol.”

         109.   Nonetheless, CONSTANTIN publicly claimed to still hold positive views of

DATS, all the while holding zero shares of the security. On or about November 15, 2021, and in

response to a Twitter question about “how come your interest died on [DATS] (if it died)[,]”

CONSTANTIN responded, “It hasn’t. They just go in cycles. DATS will go again.” On or about

December 2, 2021, on or about the date when DATS was trading at approximately $3.74 per share,

CONSTANTIN similarly falsely claimed, “DATS will go again. I like these prices.”

                                               BBI

         110.   In or around April 2022, CONSTANTIN pumped and dumped the security of the

issuer Brickell Biotech, Inc., trading on the NASDAQ under the ticker BBI (currently trading

under the ticker of FRTX) through false representations, pretenses, and material omissions.

         111.   On or about April 18, 2022, by approximately 15:37:00 EST, CONSTANTIN had

purchased approximately 3,090,936 shares of BBI at an approximate price of $0.330 per share.

On or about April 18, 2022, at approximately 15:58:00 EST, CONSTANTIN started to post on

Twitter about BBI and that he “added big on the dip.”


                                                33
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 34 of 44




       112.   On April 19, 2022, CONSTANTIN posted on Twitter false claims about BBI in or

around the time he sold or dumped shares of BBI, including:

           a. At approximately 9:20:48 EST, CONSTANTIN falsely claimed: “$BBI 1-2 week

              hold for me. Looking for .50–$1.”

           b. At approximately 9:43:49 EST, CONSTANTIN falsely claimed in a tweet: “$BBI

              .33 is my add zone.”

           c. At approximately 13:22:57 EST, CONSTANTIN falsely claimed in a tweet: “$BBI

              I’m pumping while it’s still cheap. Don’t tag me when you chased over .50 [cents

              per share.]”

           d. Between approximately 13:47:00 EST and approximately 14:42:00 EST,

              Constantin sold approximately 1,111,000 shares of BBI at an approximate price of

              $0.393 per share for an approximate profit of $81,372.64.

           e. At approximately 15:05:01 EST, CONSTANTIN falsely claimed in a tweet: “$BBI

              dips for my crips. We’re going over .50 and higher. We got catalysts baby . . . .”

           f. At approximately 17:08:39 EST, CONSTANTIN falsely claimed in a tweet, “$BBI

              to $1.”

           g. At approximately 21:33:50 EST, CONSTANTIN falsely claimed in tweet that he

              was “still fully in $BBI.”

       113.   On or about April 20, 2022, CONSTANTIN continued to post on Twitter false

claims about BBI in or around the time he sold or dumped additional shares of BBI, including:

           h. At approximately 11:41:58 EST, CONSTANTIN falsely claimed in a tweet: “$BBI

              It’s going past .50 I feel it in my heart.”




                                                 34
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 35 of 44




           i. Between approximately 13:34:00 EST and approximately 14:37:00 EST,

               CONSTANTIN sold approximately 1,180,936 shares of BBI at an approximate

               price of $0.372 per share and for an approximate profit of $45,655.81.

           j. At approximately 16:28:21 EST, CONSTANTIN falsely claimed in a tweet, “$BBI

               Bullish!!!!!!”

       114.    On or about April 22, 2022 at approximately 11:26:06 EST, CONSTANTIN falsely

claimed in a tweet: “$BBI You’re going to feel so stupid when this hits .50+.” Between

approximately 12:26:00 EST and approximately 14:43:00 EST, CONSTANTIN closed his

position by selling approximately 356,800 shares of BBI at an approximate price of $0.331 per

share and for an approximate profit of $124,725.19.

                                          COUNT ONE

                         CONSPIRACY TO COMMIT SECURITIES
                                       FRAUD
                                  (18 U.S.C. § 1349)

       115.    Paragraphs 1 through 114 of this Indictment are realleged and incorporated by

reference as though fully set forth herein.

       116.    From at least in or around January 2020 through at least in or around June 2022, in

the Southern District of Texas, and elsewhere, the defendants,

                                EDWARD CONSTANTINESCU,
                                  PERRY “PJ” MATLOCK,
                                   JOHN RYBARCZYK,
                                       GARY DEEL,
                                    STEFAN HRVATIN,
                                    TOM COOPERMAN,
                                MITCHELL HENNESSEY, and
                                     DANIEL KNIGHT,

did knowingly and intentionally, that is, with the intent to advance the conspiracy, combine,

conspire, and agree with other individuals, known and unknown, to commit an offense against the

                                               35
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 36 of 44




United States, namely, securities fraud, that is, to knowingly, and with the intent to defraud,

execute, and attempt to execute, a scheme and artifice (1) to defraud any person in connection with

any security of an issuer with a class of securities registered under Section 12 of the Securities

Exchange Act of 1934 (15 U.S.C. § 78l) and that is required to file reports under section 15(d) of

the Securities Exchange Act of 1934 (15 U.S.C. § 78o(d)), including China SXT Pharmaceuticals,

Inc. (SXTC), Torchlight Energy Resources, Inc. (TRCH), GTT Communications, Inc. (GTT),

Surface Oncology, Inc. (SURF), Alzamend Neuro, Inc. (ALZN), Universe Pharmaceuticals, Inc.

(UPC), ABVC BioPharma, Inc. (ABVC), Camber Energy, Inc. (CEI), and DatChat, Inc. (DATS),

and (2) to obtain, by means of materially false and fraudulent pretenses, representations, promises,

and material omissions, any money and property in connection with the purchase and sale of any

security of an issuer with a class of securities registered under Section 12 of the Securities

Exchange Act of 1934 (15 U.S.C. § 78l) and that is required to file reports under section 15(d) of

the Securities Exchange Act of 1934 (15 U.S.C. § 78o(d)), including China SXT Pharmaceuticals,

Inc. (SXTC), Torchlight Energy Resources, Inc. (TRCH), GTT Communications, Inc. (GTT),

Surface Oncology, Inc. (SURF), Alzamend Neuro, Inc. (ALZN), Universe Pharmaceuticals, Inc.

(UPC), ABVC BioPharma, Inc. (ABVC), Camber Energy, Inc. (CEI), and DatChat, Inc. (DATS)

in violation of Title 18, United States Code, Section 1348.

                                             Purpose

       117.    It was the purpose of the conspiracy for the defendants and their co-conspirators,

known and unknown to the Grand Jury, to unlawfully enrich themselves by pumping and dumping

securities of the above-described issuers, and others, through false and misleading posts and

material omissions on Twitter and the Atlas Trading Discord.




                                                36
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 37 of 44




                                            Manner and Means

        118.    Paragraphs 10 through 114 of this Indictment are re-alleged and incorporated by

reference as if fully set forth herein.

All in violation of Title 18, United States Code, Section 1349.


                              COUNTS TWO THROUGH ELEVEN

                                          SECURITIES FRAUD
                                          (18 U.S.C. §§ 1348 & 2)

        119.    Paragraphs 1 through 114 of this Indictment are realleged and incorporated by

reference as though fully set forth herein.

        120.    On or about the dates specified in the chart below as to each count, in the Southern

District of Texas, and elsewhere, the defendants,

                                 EDWARD CONSTANTINESCU,
                                   PERRY “PJ” MATLOCK,
                                     JOHN RYBARCZYK,
                                        GARY DEEL,
                                      STEFAN HRVATIN,
                                   TOM COOPERMAN, and
                                   MITCHELL HENNESSEY,

did knowingly, and with the intent to defraud, execute, and attempt to execute, a scheme and

artifice (1) to defraud any person in connection with any security of an issuer with a class of

securities registered under Section 12 of the Securities Exchange Act of 1934 (15 U.S.C. § 78l)

and that is required to file reports under section 15(d) of the Securities Exchange Act of 1934 and

(2) to obtain, by means of materially false and fraudulent pretenses, representations, promises, and

material omissions, any money and property in connection with the purchase and sale of any

security of an issuer with a class of securities registered under Section 12 of the Securities




                                                    37
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 38 of 44




Exchange Act of 1934 (15 U.S.C. § 78l) and that is required to file reports under section 15(d) of

the Securities Exchange Act of 1934 (15 U.S.C. § 78o(d)), as set forth below:

                                                 On or about
           Count          Defendants                                     Issuer
                                                Date and Time
                           DEEL,                                       China SXT
              2         RYBARCZYK,              September 2020      Pharmaceuticals,
                         MATLOCK                                      Inc. (SXTC)
                                                                       Torchlight
                       HENNESSEY,                                        Energy
              3                                  February 2021
                      MATLOCK, DEEL                                  Resources, Inc.
                                                                        (TRCH)
                                                                          GTT
              4         RYBARCZYK,
                                                    March 2021      Communications,
                         MATLOCK
                                                                       Inc. (GTT)
                        HENNESSEY,
                                                                        Surface
              5          MATLOCK,
                                                    May 2021         Oncology, Inc.
                        COOPERMAN,
                                                                       (SURF)
                           DEEL
                                                                       Alzamend
              6
                      DEEL, MATLOCK                 June 2021          Neuro, Inc.
                                                                        (ALZN)
                                                                        Universe
                        COOPERMAN,
              7                                                     Pharmaceuticals,
                        RYBARCZYK,                  July 2021
                                                                           Inc.
                           DEEL
                                                                         (UPC)
                                                                         ABVC
              8         RYBARCZYK
                                                  August 2021       BioPharma, Inc.
                                                                        (ABVC)
                                                   September        Camber Energy,
              9     CONSTANTINESCU,
                                                through October            Inc.
                       HRVARTIN
                                                      2021                (CEI)
             10     CONSTANTINESCU,              August through      DatChat, Inc.
                       HRVATIN                    October 2021          (DATS)
                                                                    Brickell Biotech,
             11
                     CONSTANTINESCU                 April 2022             Inc.
                                                                         (BBI)

All in violation of 18 U.S.C. §§ 1348 and 2.




                                               38
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 39 of 44




                                              COUNT TWELVE

            ENGAGING IN MONETARY TRANSACTIONS IN PROPERTY DERIVED
                   FROM SPECIFIED UNLAWFUL ACTIVITY
                                (18 U.S.C. § 1957)

       121.    Paragraphs 1 through 114 of this Indictment are realleged and incorporated by

reference as though fully set forth herein.

       122.    In or about 2021, CONSTANTIN maintained an account ending in -9349 at

Brokerage 1 (the “Brokerage Account”), which he used to trade securities, including securities

described in this Indictment. The Brokerage Account held criminally derived property from the

scheme described herein.

       123.    In or about 2021, CONSTANTIN maintained an account ending in -7878 at Bank

1 (the “Bank Account”). Bank 1 is a financial institution as defined in Title 18, United States Code,

Section 1956(6).

       124.    On or about March 8, 2021, the Bank Account’s balance was approximately

$1,174,157.36. From on or about March 8, 2021 to on or about March 16, 2021, CONSTANTIN

caused approximately $4,000,000 in criminally derived property to be wired from the Brokerage

Account to the Bank Account. On or about March 16, 2021, the Bank Account’s balance was

approximately $5,394,774.16, and no further funds entered the Bank Account until after March

18, 2021.




                                                 39
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 40 of 44




       125.    On or about March 18, 2021, in the Southern District of Texas and elsewhere, the

defendant,

                                EDWARD CONSTANTINESCU,

 did knowingly engage and attempt to engage in a monetary transaction, by, through, and to a

 financial institution, affecting interstate commerce, in criminally derived property of a value

 greater than $10,000, that is, a transfer and withdrawal of funds, to wit, a wire transfer in the

 amount of approximately $3,450,000.00 from the Bank Account, payable to Title Company 1’s

 account at Bank 2, to purchase real property located at or about 142 Bentwater Bay Drive,

 Montgomery, TX 77356, legally described as: Block 1, Lots 2 and 3, of Bentwater Sec. 82,

 Montgomery County, TX, property being derived from a specified unlawful activity, that is,

 conspiracy to commit securities fraud in violation of Title 18, United States Code, Section 1349 as

 described in Count One of this Indictment.

 All in violation of Title 18, United States Code, Section 1957(a).




                                                 40
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 41 of 44




                                 FORFEITURE ALLEGATIONS

The Grand Jury further states that there is probable cause that:

                          NOTICE OF CRIMINAL FORFEITURE
                      (18 U.S.C. §§ 981(a)(1)(C) and 28 U.S.C. § 2461(c))

       Pursuant to Title 18, United States Code, Sections 981(a)(1)(C) and Title 28, United States

Code, Sections 2461(c), the United States of America gives notice to the defendants,

                                 EDWARD CONSTANTINESCU,
                                   PERRY “PJ” MATLOCK,
                                    JOHN RYBARCZYK,
                                       GARY DEEL,
                                     STEFAN HRVATIN,
                                     TOM COOPERMAN,
                                 MITCHELL HENNESSEY, and
                                      DANIEL KNIGHT

that, in the event of conviction of a violation of Title 18, United States Code, Sections 1349, 1348

and 2 as charged in Count One through Count Eleven of the Indictment, the United States of

America shall forfeit any property, real or personal, which constitutes or is derived from proceeds

traceable to such offenses.


                           NOTICE OF CRIMINAL FORFEITURE
                                  (18 U.S.C. § 982(a)(1))

       Pursuant to Title 18, United States Code, Section 982(a)(1), the United States of America

gives notice to the defendant,

                                 EDWARD CONSTANTINESCU

that, in the event of conviction of a violation of Title 18, United States Code, Section 1957 as

charged in Count Twelve of the Indictment, the United States of America shall forfeit any property,

real or personal, involved in such offense, or any property traceable to such property.




                                                41
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 42 of 44




                                 Property Subject to Forfeiture

       The property subject to forfeiture includes, but is not limited to, the following:

       126.    The real property located at 74 N. Lamerie Way, Spring, Texas 77382, together

with all improvements, buildings, structures, and appurtenances, and legally described as: Lot 12,

Block 1, of Woodlands Village of Carlton Woods Section 15, Montgomery County, Texas;

       127.    The real property located at 138 Bentwater Bay Dr., Montgomery, Texas 77356,

together with all improvements, buildings, structures, and appurtenances, and legally described as:

Lot 1, Block 1, Bentwater Sec. 82, Montgomery County, Texas;

       128.    The real property located at 142 Bentwater Bay Dr., Montgomery, Texas 77356,

together with all improvements, buildings, structures, and appurtenances, and legally described as:

Block 1, Lots 2 and 3, of Bentwater Sec. 82, Montgomery County, Texas;

       129.    The real property located at 151 Bentwater Bay Dr., Montgomery, Texas 77356,

together with all improvements, buildings, structures, and appurtenances, and legally described as:

Lot 2, Block 2, Bentwater Sec. 82, Montgomery County, Texas;

       130.    The real property located at 258 Pinerock Ln., Montgomery, Texas 77356, together

with all improvements, buildings, structures, and appurtenances, and legally described as: Lot 6,

Block 2, Bentwater Sec. 47, Montgomery County, Texas;

       131.    The real property located at 299 W. Pines Dr., Montgomery, Texas 77356, together

with all improvements, buildings, structures, and appurtenances, and legally described as: Lot 8,

Block 2, Bentwater Sec. 47, Montgomery County, Texas;

       132.    The real property located at 7115 Julie Pond Lane, Spring, Texas 77389, together

with all improvements, buildings, structures, and appurtenances, and legally described as: Lot 3,

Blk. 1, Shadow Creek South Sec. 3, Harris County, Texas;


                                                42
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 43 of 44




       133.    The real property located at 6917 W. Warwick Lane, Spring, Texas 77389, together

with all improvements, buildings, structures, and appurtenances, and legally described as: Lot 36,

Block 1, Shadow Creek South, Sec. 2, Harris County, Texas;

       134.    The real property located at 15 Congressional Circle, The Woodlands, Texas

77389, together with all improvements, buildings, structures, and appurtenances, and legally

described as: Lot 4, Block 1, The Woodlands Carlton Woods, Creekside 2, in the Village of

Creekside Park, Harris County, Texas; and

       135.    The real property located at 6913 W. Warwick Lake Ln., Spring, Texas 77389,

together with all improvements, buildings, structures, and appurtenances, and legally described as:

Lot 35, Blk. 1, Shadow Creek South Sec. 2, Harris County, Texas.




                                                43
     Case 4:22-cr-00612 Document 1 Filed on 12/07/22 in TXSD Page 44 of 44




                    MONEY JUDGMENT AND SUBSTITUTE ASSETS

       The United States gives notice that it will seek a money judgment up to $114,000,000

against the Defendants. In the event that one or more conditions listed in Title 21, United States

Code, Section 853(p) exists, the United States will seek to forfeit any other property of the

Defendants up to the amount of the money judgment.



                                             A TRUE BILL:



                                             Foreperson


Date: __________________________
          December 07, 2022



_______________________________
GLENN S. LEON                                       JENNIFER LOWERY
Chief, Fraud Section                                U.S. Attorney
Criminal Division, Department of Justice            Southern District of Texas



_______________________________                     _______________________________
Scott Armstrong                                     Thomas Heyward Carter, III
Assistant Chief                                     Assistant U.S. Attorney

John J. Liolos
Trial Attorney




                                               44
